              Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 1 of 12




MARC P. BERGER
REGIONAL DIRECTOR
Sanjay Wadhwa
Michael D. Paley
Judith A. Weinstock
Paul G. Gizzi
Kristine Zaleskas
Attorneys for Plaintiff
SECURITIES AND EXCHANGE COMMISSION
New York Regional Office
200 Vesey Street, Suite 400
New York, New York 10281-1022
(212) 336-0077 (Gizzi)
Email: gizzip@sec.gov


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,                                                     COMPLAINT
                               Plaintiff,                        20-CV-6

                  -against­
                                                                 JURY TRIAL DEMANDED
 ULRIKDEBO,
                               Defendant.




        Plaintiff Securities and Exchange Commission ("Commission"), for its Complaint against

defendant Ulrik Debo ("Debo"), alleges as follows:

                                            SUMMARY

        1.       From at least April 2019 through the present, Debo has orchestrated and almost

finished implementing a fraudulent scheme to secretly control a microcap shell company­

Herbatech Life Inc. (ticker symbol: EVfP)-and promote its stock to pump and dump its shares

for profit.

        2.       With two other business partners, Debo devised a scheme to purchase a dormant
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 2 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 3 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 4 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 5 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 6 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 7 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 8 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 9 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 10 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 11 of 12
Case 1:20-cv-00006-PKC Document 1 Filed 01/02/20 Page 12 of 12
